       Case 3:14-cr-01288-DMS                         Document 1225                   Filed 07/21/16             PageID.8214               Page 1 of
                                                                                3

     ~AO 2458 (CASD) (Rev. 4114)

                Sheet I
                                    Judgment in a Criminal Case                                                                   FILED
                                                                                                                                   JUL 21 2016
                                              UNITED STATES DISTRICT COURT                                                   CLERK J    jeffl' ,C\:' TCIILlFORNIA·
                                                                                                                                                       COURT
                                                                                                                        SOUTHER~. CiS""'
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                      BY                               tlEPUTY

                     UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIM~ ALCASE
                                        v.                                            For Offenses Committed On or After November I, 987)

                          WILBERT ROSS III (13)                                      Case Number: 14CR1288-DMS
                                                                                     Michael Berg CIA
                                                                                     Defendant's Attorney
    REGISTRATION NO. 41931298
    181 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36). Defendant was found guilty of charges.
     o
    THE DEFENDANT:
        pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     181 was found guilty on count(s) I, 8 and 9 of the 5th Superseding Indictment
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature oCOffense                                                                               Numberrs)
18 USC 1962(d)                        CONSPIRACY TO CONDUCT ENTERPRlSE AFFAIRS THROUGH A
                                        PATTERN OF RACKETEERlNG ACTIVITY
18 USC 1591(a),(b) and (c)            SEX TRAFFICKING OF A MINOR                                                                            8
18 USC 1591(a) and (b)                SEX TRAFFICKING BY FORCE, FRAUD OR COERCION                                                           9




        The defendant is sentenced as provided in pages 2 through                3          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s)-.:r~em=ai::.:n:::in"'g_ _ _ _ _ _ _ _ _ _------------------------------------
                                                       _ _ _ _ _ _ _ is 0 are(gl dismissed on the motion of the United States.
 181 Assessment: $300.00 ($100.00 as to each of Counts 1,8 and 9).

  181 Fine waived                                   o    Forfeiture pursuant to order filed
                                                                                                  - - - - - - - , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendantts economic circumstances.
                                                                               Jul 20,2016
                                                                              Date of Imposition of Sentence



                                                                              HON.DA:        BRAW
                                                                              UNITED STATES DISTRlCT JUDGE


                                                                                                                                                14CR1288-DMS
·. Case 3:14-cr-01288-DMS                       Document 1225              Filed 07/21/16        PageID.8215            Page 2 of
                                                                      3
AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment - Page _..:2,-- of   3
 DEFENDANT: WILBERT ROSS III (13)
 CASE NUMBER: 14CR1288-DMS
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Count 1: LIFE. Count 8: TEN (10) YEARS, concurrent to Count 1. Count 9: FIFTEEN (15) YEARS, consecutive to Count
          8, and concurrent to Count 1. All counts will run consecutive to any sentence in the Superior Court of California, County
          of San Diego, Case No. CD252867.

      o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
      D The court makes the following recommendations to the Bureau of Prisons:



      o   The defendant is remanded to the custody of the United States Marshal.

      o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                   Da.m.       Dp.m.       on _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                         -------------------------------------------------
           o    as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                    to

 at                                                  with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                        14CR1288-DMS
 . '
       Case 3:14-cr-01288-DMS         Document 1225          Filed 07/21/16             PageID.8216       Page 3 of
                                                         3
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:              WILBERT ROSS III (13)                                                         Judgment - Page 3 of 3
CASE NUMBER:            14CR1288-DMS

                                            RESTITUTION

The defendant shall pay restitution in the amount        $43,803.12
                                                       ----"-'-"-'=::..:..:.:=-----
                                                                                      unto the United States of America.


Restitution shall be paid through the Clerk, U.S. District Court, as directed in a restitution order to be filed in
the future. Restitution of$37,550.87 shall be paid to the California Victim Compensation & Government
Claims Board, and $5,252.25 shall be paid to the family of Andres Caldera.

Defendant shall be jointly and severally liable to pay restitution with co-defendants Marcus Anthony Foreman,
Germaine Gerald Cook and Terry Carry Hollins.




                                                                                                         14CR1288-DMS
